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                      CLERK’S COURTROOM MINUTE SHEET – CIVIL



KANSANS FOR CONSTITUTIONAL FREEDOM,

                       Plaintiff,

v.                                                          Case No. 25-2265-DDC-GEB


KRIS KOBACH, et al.,

                       Defendants.


                               Attorneys for Plaintiff: Joshua C. Abbuhl, Pedro L. Irigonegaray
     Attorneys for Defendants: Chad Eric Blomberg, Julian R. Ellis, Jr., Christopher O. Murray

JUDGE:                  Daniel D. Crabtree         DATE:                         6/23/2025
CLERK:                   Megan Garrett             TAPE/REPORTER:               Kim Greiner



              PRELIMINARY INJUNCTION HEARING
The parties appear through counsel.

The following motion is before the court:

        Doc. 9 – Motion for Preliminary Injunction – TAKEN UNDER ADVISEMENT as set
        forth in full on the record.

The court hears argument from counsel on the motion.

The court will enter an order ruling the motion.
